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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAI‘I

  HEIDI PURCELL, M.D., FACOG, et                CIV. NO. 1:17-00493-JAO-RT
  al.,
                                                ANSWER TO CORRECTED
                           Plaintiffs,          SECOND AMENDED AND
                                                SUPPLEMENTAL COMPLAINT
        v.
  XAVIER BECERRA, et al.,
                           Defendants.


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       Defendants now respond to Plaintiffs’ Corrected Second Amended and

 Supplemental Complaint. ECF No. 212. Defendants admit, deny, or otherwise

 answer the numbered paragraphs in the Corrected Second Amended and

 Supplemental Complaint as follows:

       1.        Defendants admit that mifepristone was approved by the U.S. Food

 and Drug Administration (“FDA”) in 2000 for use in a regimen with misoprostol

 for medical termination of early intrauterine pregnancy, and is subject to approved

 conditions of use, including the Mifepristone Risk Evaluation and Mitigation

 Strategy (“REMS”) Program. Defendants deny that Mifeprex and generic

 mifepristone are subject to “identical regulations.” As to the second sentence,

 Defendants admit that the cited document contains the quoted text. Defendants

 deny any characterization of that document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents.

       2.        This paragraph characterizes the cited document. Defendants deny the

 allegations for lack of knowledge or information sufficient to form a belief as to

 the allegations’ truth, as the allegations are vague and use undefined terminology.

 Defendants further deny any characterization of the cited document, which speaks

 for itself, and respectfully refer the Court to that document for a full and complete

 statement of its contents.

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       3.     This paragraph characterizes the cited documents. Defendants deny

 the allegations in the first sentence of paragraph 3 for lack of knowledge or

 information sufficient to form a belief as to the allegations’ truth, as the allegations

 are vague and use undefined terminology. As to the second sentence, Defendants

 deny any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. As to the third sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents.

       4.     Deny, except Defendants admit that mifepristone is approved by FDA

 in a regimen with misoprostol for medical termination of early intrauterine

 pregnancy, and is subject to approved conditions of use, including the Mifepristone

 REMS Program.

       5.     Defendants admit that the cited statutes contain the quoted text, with

 the clarification that the statute cited in the first sentence refers to “the drug,” not

 “a drug.” Defendants deny any characterization of the cited statutes, which speak

 for themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents.




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        6.       Regarding the allegations up to footnote 6, Defendants deny any

 characterization of the Parties’ Joint Stipulation of Facts, ECF No. 85, that is

 inconsistent with the contents of that document, which were accurate as of the

 November 27, 2019 date of filing. Regarding the allegations after footnote 6,

 Defendants admit that the cited document contains the quoted text. Defendants

 deny any characterization of that document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents.

       7.        Defendants admit that Plaintiffs filed this litigation in 2017. The

 remainder of this paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

       8.        Defendants admit that the text quoted in the third sentence is

 contained in the cited opinion. Defendants deny any characterization of the

 proceedings in the case discussed in this paragraph, which speak for themselves,

 and respectfully refer the Court to the opinions cited in this paragraph for a full and

 complete statement of their contents.

       9.        This paragraph characterizes the cited documents. Defendants deny

 any characterization of the cited documents, which speak for themselves, and




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 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

       10.    Admit, with the clarification that Plaintiffs’ motion for summary

 judgment was filed in April 2021, ECF No. 141.

       11.    This paragraph characterizes the cited documents. Defendants admit

 that The Society of Family Planning sent a letter to FDA on August 11, 2021, and

 that Dr. Graham Chelius, The Society of Family Planning, and The California

 Academy of Family Physicians sent a letter to FDA on September 29, 2021.

 Defendants deny that “the mifepristone REMS is medically unjustified and

 burdens patients and the health care system.” Defendants further deny any

 characterization of the cited documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

       12.    Defendants deny the allegation that certain medications “pose risks

 greater than or comparable to that of mifepristone” for lack of knowledge or

 information sufficient to form a belief as to its truth, as it is vague and uses

 undefined terminology. Defendants further deny the allegations about how Jeuveau

 “is used,” for lack of knowledge or information sufficient to form a belief as to

 their truth. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document or of the referenced

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 Jeuveau labeling, which speak for themselves, and respectfully refer the Court to

 those documents for a full and complete statement of their contents.

       13.    Defendants admit that on January 3, 2023, FDA approved

 supplemental applications that modified the Mifepristone REMS Program.

 Defendants further admit that the cited documents contain the quoted text.

 Defendants deny any characterization of the cited documents, which speak for

 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

       14.    Defendants admit that the cited statute contains the quoted text.

 Defendants deny any characterization of the cited documents and statute, which

 speak for themselves, and respectfully refer the Court to the cited documents and

 statute for a full and complete statement of their contents. Defendants deny that

 FDA did not consider statutorily required factors and “never grappled with facts

 critical to the mifepristone REMS analysis.”

       15.    Defendants admit that the cited statute contains the quoted text.

 Defendants deny any characterization of the cited statute and of FDA’s REMS

 review memoranda referenced in paragraph 14, which speak for themselves, and

 respectfully refer the Court to the cited statute and memoranda for a full and

 complete statement of their contents. Defendants deny that “FDA does not impose




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 similar restrictions on other, riskier drugs” for lack of knowledge or information

 sufficient to form a belief as to its truth.

        16.    Defendants admit that the cited statute contains the quoted text.

 Defendants deny that “the mifepristone REMS is not supported by science and

 harms patients and the health care system” and that “the mifepristone [Elements To

 Assure Safe Use (‘ETASU’)] are ‘unduly burdensome on patient access to the

 drug,’ particularly for ‘patients in rural or medically underserved areas’ who

 struggle to obtain abortion care.” Defendants further deny any characterization of

 the cited statute and of FDA’s REMS review memoranda referenced in paragraph

 14, which speak for themselves, and respectfully refer the Court to that statute and

 those memoranda for a full and complete statement of their contents.

        17.    Deny.

        18.    Deny.

        19.    Deny.

        20.    Defendants deny the allegations in the first sentence for lack of

 knowledge or information sufficient to form a belief as to their truth. Defendants

 deny the allegations in the second sentence.

        21.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

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        22.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        23.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        24.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        25.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        26.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        27.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        28.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        29.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

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        30.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        31.    Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        32.    Admit, with the clarification that Xavier Becerra is the Secretary of

 the Department of Health and Human Services.

        33.    Admit.

        34.    Admit.

        35.    Defendants admit the allegations in the first sentence to the extent

 they refer to new drugs but deny that a new drug application (“NDA”) is required

 for all drugs. Defendants deny the allegations in the second sentence and note that

 the safety and efficacy of a drug product are not the only criteria FDA evaluates to

 determine the drug product’s approvability.

        36.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        37.    This paragraph appears to characterize the document cited in

 paragraph 36. Defendants deny any characterization of the cited document, which




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 speaks for itself, and respectfully refer the Court to that document for a full and

 complete statement of its contents.

       38.    Admit, except Defendants deny that supplemental NDAs are

 submitted only to seek approval for “changes to the labeling” of an approved drug

 or “to market the drug for a new indication.”

       39.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of the cited document, statute, or regulations,

 which speak for themselves, and respectfully refer the Court to the cited document,

 statute, and regulations for a full and complete statement of their contents.

       40.    This paragraph characterizes the cited statutes and regulations.

 Defendants deny any characterization of the cited statutes and regulations, which

 speak for themselves, and respectfully refer the Court to those statutes and

 regulations for a full and complete statement of their contents.

       41.    This paragraph characterizes the cited statute. Defendants deny any

 characterization of the statute, which speaks for itself, and respectfully refer the

 Court to that statute for a full and complete statement of its contents.

       42.    Defendants admit that the cited statute contains the quoted text, with

 the clarification that the cited statute refers to “the drug,” not “a drug.” Defendants

 deny any characterization of the cited statute, which speaks for itself, and




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 respectfully refer the Court to the cited statute for a full and complete statement of

 its contents.

       43.       Defendants admit that the cited statute contains the quoted text.

 Defendants deny any characterization of the cited statute, which speaks for itself,

 and respectfully refer the Court to the cited statute for a full and complete

 statement of its contents.

       44.       This paragraph characterizes the cited statute. Defendants deny any

 characterization of the statute, which speaks for itself, and respectfully refer the

 Court to that statute for a full and complete statement of its contents.

       45.       Defendants admit that the cited statutes contain the quoted text.

 Defendants deny any characterization of the cited statutes, which speak for

 themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents. Defendants specifically deny that ETASU are

 “restrictive and burdensome.”

       46.       Defendants admit that the cited statutes contain the quoted text.

 Defendants deny any characterization of the cited statutes, which speak for

 themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents.

       47.       Defendants admit that the cited statutes contain the quoted text.

 Defendants deny any characterization of the cited statutes, which speak for

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 themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents.

       48.    Defendants admit that the cited statutes contain the quoted text.

 Defendants deny any characterization of the cited statutes, which speak for

 themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents.

       49.    Defendants admit that the cited statutes contain the quoted text.

 Defendants deny any characterization of the cited statutes, which speak for

 themselves, and respectfully refer the Court to the cited statutes for a full and

 complete statement of their contents.

       50.    This paragraph characterizes the labeling for Mifeprex, generic

 mifepristone, Cytotec, and generic misoprostol. Defendants deny any

 characterization of that labeling, which speaks for itself, and respectfully refer the

 Court to the labeling for a full and complete statement of its contents.

       51.    This paragraph characterizes the cited document and the labeling for

 Mifeprex and generic mifepristone. Defendants deny any characterization of the

 cited document or of that labeling, which speak for themselves, and respectfully

 refer the Court to the document and the labeling for a full and complete statement

 of their contents.




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        52.    This paragraph characterizes the labeling for Mifeprex and generic

 mifepristone. Defendants deny any characterization of that labeling, which speaks

 for itself, and respectfully refer the Court to the labeling for a full and complete

 statement of its contents.

        53.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        54.    Defendants admit that the cited documents contain the quoted text.

 Defendants deny any characterization of those documents, which speak for

 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

        55.    The first four sentences characterize the Korlym labeling and reviews.

 Defendants deny any characterization of the Korlym labeling and reviews, which

 speak for themselves, and respectfully refer the Court to those documents for a full

 and complete statement of their contents. Regarding the last sentence, Defendants

 admit that the cited document contains the quoted text. Defendants deny any

 characterization of that document, which speaks for itself, and respectfully refer

 the Court to that document for a full and complete statement of its contents.




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        56.      As to the first two sentences, Defendants deny the allegations for lack

 of knowledge or information sufficient to form a belief as to their truth. As to the

 third sentence, Defendants admit that the cited document contains the quoted text,

 but deny any characterization of that document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents.

       57.       Admit.

       58.       Admit.

       59.       This paragraph characterizes the cited document, the Mifeprex NDA,

 and the Mifeprex NDA review documents. Defendants admit that the cited

 document contains the quoted text. Defendants deny any characterization of the

 cited document, the Mifeprex NDA, or the Mifeprex NDA review documents,

 which speak for themselves, and respectfully refer the Court to those documents

 for a full and complete statement of their contents.

       60.       Admit.

       61.       This paragraph characterizes the referenced clinical trials. Defendants

 deny any characterization of the referenced clinical trials, which speak for

 themselves, and respectfully refer the Court to reports of the referenced clinical

 trials for a full and complete statement of their contents. Defendants further deny

 the allegations for lack of knowledge or information sufficient to form a belief as

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 to their truth to the extent they relate to the undefined term “European post-market

 experience.” Defendants admit that FDA’s approval of mifepristone did not involve

 an accelerated review, deny that FDA “imposed ETASU,” and admit that Mifeprex

 was approved with a restricted distribution system under the Subpart H regulations.

       62.       This paragraph characterizes the referenced ETASU. Defendants deny

 any characterization of the referenced ETASU, which speak for themselves, and

 respectfully refer the Court to those ETASU for a full and complete statement of

 their contents. Defendants specifically deny that “ETASU [were] imposed at the

 time of Mifeprex’s original approval.”

       63.       This paragraph characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents.

       64.       Defendants deny the allegations in the first sentence and deny that

 ETASU were imposed at the time of approval. The second and third sentences

 characterize the cited documents. Defendants deny any characterization of the cited

 documents, which speak for themselves, and respectfully refer the Court to those

 documents for a full and complete statement of their contents.




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        65.    Admit, except Defendants deny the allegation regarding the

 Population Council “noting its objections” for lack of knowledge or information

 sufficient to form a belief as to its truth.

        66.    The first sentence characterizes the referenced document. Defendants

 deny any characterization of the referenced document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. Defendants deny the allegations in the second sentence for lack of

 knowledge or information sufficient to form a belief as to their truth.

        67.    This paragraph characterizes the referenced Mifeprex REMS.

 Defendants admit that, in 2011, in response to a submission by the sponsor, FDA

 approved the Mifeprex REMS after determining that it was necessary to ensure the

 benefits of mifepristone outweigh the risks. Defendants deny any characterization

 of the referenced Mifeprex REMS, which speaks for itself, and respectfully refer

 the Court to that document for a full and complete statement of its contents.

        68.    This paragraph characterizes the referenced Mifeprex REMS.

 Defendants deny any characterization of the referenced Mifeprex REMS, which

 speaks for itself, and respectfully refer the Court to that document for a full and

 complete statement of its contents.

        69.    This paragraph characterizes the referenced Mifeprex REMS.

 Defendants deny any characterization of the referenced Mifeprex REMS, which

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 speaks for itself, and respectfully refer the Court to that document for a full and

 complete statement of its contents.

       70.    This paragraph characterizes the referenced Mifeprex REMS.

 Defendants deny any characterization of the referenced Mifeprex REMS, which

 speaks for itself, and respectfully refer the Court to that document for a full and

 complete statement of its contents.

       71.    This paragraph characterizes the referenced Mifeprex REMS.

 Defendants admit that the referenced Mifeprex REMS contains the quoted text.

 Defendants further admit that 21 U.S.C. § 355-1 provides for periodic assessments

 to be submitted by the sponsor to FDA. Defendants deny any characterization of

 the referenced Mifeprex REMS, which speaks for itself, and respectfully refer the

 Court to that document for a full and complete statement of its contents.

       72.    Defendants deny the allegations in the first three sentences for lack of

 knowledge or information sufficient to form a belief as to their truth, except admit

 that FDA approved Mifeprex in 2000 and that Danco submitted a supplemental

 NDA to FDA in May 2015 that included proposed labeling changes. Defendants

 deny the allegations in the last sentence.

       73.    Defendants deny the allegations in the first sentence. The second

 sentence characterizes the Mifeprex supplemental NDA review documents and the

 referenced letters. Defendants deny any characterization of those documents and

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 letters, which speak for themselves, and respectfully refer the Court to those

 documents and letters for a full and complete statement of their contents.

        74.    This paragraph characterizes the referenced letters. Defendants deny

 any characterization of the referenced letters, which speak for themselves, and

 respectfully refer the Court to those letters for a full and complete statement of

 their contents. Regarding the allegations describing the American College of

 Obstetricians and Gynecologists and the American Public Health Association,

 Defendants further deny the allegations for lack of knowledge or information

 sufficient to form a belief as to their truth.

        75.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        76.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        77.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,




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 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        78.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        79.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents. Defendants further deny that the Mifepristone REMS Program

 imposes burdens beyond what is permitted by statute.

        80.    Defendants admit that the cited documents contain the quoted text.

 Defendants deny any characterization of those documents, which speak for

 themselves, and respectfully refer the Court to the documents for a full and

 complete statement of their contents. Defendants specifically deny that ETASU A,

 the Prescriber Agreement Form, “is unnecessary for the safe dispensation of

 mifepristone.”

        81.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,




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 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        82.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        83.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents. Defendants specifically deny that the Patient Agreement Form is

 “medically unnecessary and interferes with the clinician-patient relationship.”

        84.    This paragraph characterizes the referenced FDA documents.

 Defendants deny any characterization of those documents, which speak for

 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

        85.    Defendants admit that FDA 0262 contains the text quoted in the

 second sentence and that the cited document contains the text quoted in the third

 and fourth sentences. Defendants deny any characterization of those documents,

 which speak for themselves, and respectfully refer the Court to those documents

 for a full and complete statement of their contents.

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       86.    The first sentence characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. As to the second sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents.

       87.    As to the first sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. The second sentence characterizes the

 documents described therein. Defendants deny any characterization of those

 documents, which speak for themselves, and respectfully refer the Court to those

 documents for a full and complete statement of their contents.

       88.    This paragraph characterizes the cited document and the referenced

 exhibits. Defendants admit that FDA held a meeting regarding the REMS on

 January 15, 2016. Defendants further admit that the cited document (specifically,

 FDA 0701–02) contains the quoted text. Defendants deny any characterization of

 that document or the referenced exhibits, which speak for themselves, and




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 respectfully refer the Court to that document and those exhibits for a full and

 complete statement of their contents.

        89.     Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        90.     Defendants admit that, on March 29, 2016, FDA approved a

 supplemental new drug application from the sponsor to alter Mifeprex’s approved

 conditions of use, including the REMS. This paragraph otherwise contains

 argument and conclusions of law, not allegations of fact, and thus no response is

 required. To the extent a response is deemed necessary, Defendants deny the

 allegations.

        91.     The first sentence characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. As to the second sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents.




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        92.    Defendants admit that the cited documents contain the quoted text.

 Defendants deny any characterization of those documents, which speak for

 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

        93.    Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        94.    As to the allegations in the first sentence, Defendants admit that the

 Commissioner does not weigh in on every REMS assessment and that the

 Commissioner was a political appointee, and deny the rest of the allegations for

 lack of knowledge or information sufficient to form a belief as to the allegations’

 truth, as the allegations are vague and use undefined terminology. The second

 sentence contains Plaintiffs’ argument and characterization of the cited court

 decision. Defendants admit that the cited decision contains the quoted text, deny

 the rest of the allegations in the second sentence, and respectfully refer the Court to

 the cited decision for a full and complete statement of its contents.

        95.    Admit.

        96.    As to the allegations in the first sentence, Defendants admit that FDA

 approved a generic version of mifepristone in 2019, deny that FDA “established” a

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 single, shared REMS, and deny the remaining allegations in the first sentence for

 lack of knowledge or information sufficient to form a belief as to the allegations’

 truth, as the allegations are vague and use undefined terminology. Defendants

 admit the allegations in the second sentence.

       97.    This paragraph characterizes the cited documents. Defendants deny

 any characterization of the cited documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

       98.    The first sentence characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. As to the second sentence, Defendants deny the allegations and note

 that the in-person dispensing requirement was preliminarily enjoined by the U.S.

 District Court for the District of Maryland on July 13, 2020 (ACOG v. FDA, 472 F.

 Supp. 3d 183, 233 (D. Md. 2020)); the Supreme Court stayed the district court’s

 order on January 12, 2021 (FDA v. ACOG, 141 S. Ct. 578 (2021) (mem.)); FDA

 announced in April 2021 that it was exercising enforcement discretion with respect

 to the requirement during the COVID-19 public health emergency; and FDA

 eliminated the requirement with the approval of supplemental applications in

 January 2023.

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        99.    This paragraph characterizes the proceedings in the referenced case.

 Defendants deny any characterization of those proceedings, which speak for

 themselves, and respectfully refer the Court to the cited opinion for a full and

 complete statement of its contents.

        100. Admit.

        101. Defendants admit the allegations in the first three sentences. As to the

 fourth sentence, Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        102. This paragraph characterizes the cited document. Defendants admit

 that FDA approved a supplemental new drug application for Mifeprex in 2021.

 Defendants otherwise deny any characterization of the cited document, which

 speaks for itself, and respectfully refer the Court to that document for a full and

 complete statement of its contents.

        103. This paragraph characterizes the cited letter from September 2021 and

 the appendix to that letter, as well as the referenced letter from August 2021.

 Defendants admit that the cited documents contain the quoted text. Defendants

 deny any characterization of the cited letter from September 2021 and the appendix

 to that letter, as well as the referenced letter from August 2021, which speak for

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 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents. Defendants further deny that “the

 mifepristone REMS is medically unnecessary and burdensome on patients

 (especially patients who face difficulties accessing health care) and on the health

 care delivery system itself.”

        104. Defendants admit that ACOG sent a letter to FDA on October 6, 2021.

 Defendants further admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        105. Defendants admit that the cited document contains the quoted text

 (specifically at 2021 REMS 001564). Defendants deny any characterization of that

 document, which speaks for itself, and respectfully refer the Court to that

 document for a full and complete statement of its contents.

        106. Defendants deny the allegations in the first sentence. As to the second

 and third sentences, Defendants admit that the cited document and statutes contain

 the quoted text. Defendants deny any characterization of the cited document and

 statutes, which speak for themselves, and respectfully refer the Court to the cited

 document and statutes for a full and complete statement of their contents.

 Furthermore, the third sentence contains argument and conclusions of law, to

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 which no response is required. To the extent a response is deemed necessary,

 Defendants deny the allegations.

       107. This paragraph characterizes the referenced FDA documents.

 Defendants admit that FDA completed its review of the Mifepristone REMS

 Program on December 16, 2021. Defendants further admit that FDA determined

 that the REMS continues to be necessary to ensure that the benefits of the drug

 outweigh the risks, but that the REMS must be modified to minimize the burden on

 the health care delivery system of complying with the REMS and to ensure that the

 benefits of the drug outweigh the risks. Defendants further admit that FDA

 determined that the REMS must be modified to remove the in-person dispensing

 requirement and add a pharmacy certification requirement. Defendants further

 admit that FDA sent a REMS Modification Notification letter to each of the

 mifepristone application holders. Defendants otherwise deny any characterization

 of the referenced FDA documents, which speak for themselves, and respectfully

 refer the Court to those documents for a full and complete statement of their

 contents.

       108. Admit, with the clarification that the mifepristone generic drug

 applicant submitted a supplemental abbreviated new drug application to FDA.

       109. Defendants admit that on January 3, 2023, FDA completed a

 Summary Review Memorandum summarizing its evaluation of the supplemental

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 applications and approved those supplemental applications, which modified the

 Mifepristone REMS Program. Defendants otherwise deny the allegations in the

 first sentence. The second and third sentences contain argument and conclusions of

 law, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny the allegations in the second and

 third sentences.

        110. As to the first sentence, Defendants admit that the cited statute

 contains the quoted text. Defendants deny any characterization of that statute,

 which speaks for itself, and respectfully refer the Court to that statute for a full and

 complete statement of its contents. The second sentence contains argument and

 conclusions of law, not allegations of fact, and thus no response is required. To the

 extent a response is deemed necessary, Defendants deny the allegations.

        111. As to the first sentence, Defendants admit that the cited statute and

 document contain the quoted text. Defendants deny any characterization of that

 statute and document, which speak for themselves, and respectfully refer the Court

 to that statute and document for a full and complete statement of their contents.

 The second sentence appears to characterize the document cited in footnote 3.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

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       112. As to the first sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. As to the second sentence, regarding the

 text up to footnote 76, Defendants deny any characterization of the Parties’ Joint

 Stipulation of Facts, ECF No. 85, that is inconsistent with the contents of that

 document, which were accurate as of the November 27, 2019, date of filing.

 Regarding the text after footnote 76, Defendants deny the allegations for lack of

 knowledge or information sufficient to form a belief as to their truth.

       113. As to the second sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants otherwise deny the allegations

 for lack of knowledge or information sufficient to form a belief as to their truth.

       114. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

       115. Defendants admit that the cited statute and document (specifically, at

 FDA 0859–60) contain the quoted text. Defendants deny any characterization of

 that statute and document, which speak for themselves, and respectfully refer the

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 Court to that statute and document for a full and complete statement of their

 contents.

       116. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

       117. Defendants admit that the cited statute and document contain the

 quoted text. Defendants deny any characterization of that statute or document,

 which speak for themselves, and respectfully refer the Court to that statue and

 document for a full and complete statement of their contents.

       118. Defendants deny the allegations in the first and third sentences for

 lack of knowledge or information sufficient to form a belief as to their truth. As to

 the second sentence, Defendants admit that the cited document contains the quoted

 text. Defendants deny any characterization of that document, which speaks for

 itself, and respectfully refer the Court to that document for a full and complete

 statement of its contents.

       119. Defendants deny the allegations for lack of knowledge or information

 sufficient to form a belief as to their truth, except admit that mifepristone is

 approved as safe and effective for use in a regimen with misoprostol for

 termination of early pregnancy, under approved conditions of use, including a

 REMS.

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       120. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

       121. As to the first sentence, Defendants admit that the cited statute

 contains the quoted text. Defendants deny any characterization of the cited statute,

 which speaks for itself, and respectfully refer the Court to the cited statute for a full

 and complete statement of its contents. Defendants admit that Mifeprex and its

 generic mifepristone product are 200 mg tablets and that the approved dose is one

 tablet. Defendants deny the allegation regarding what Mifeprex and its generic

 mifepristone product are “only prescribed for” for lack of knowledge or

 information sufficient to form a belief as to its truth. The remainder of the

 paragraph characterizes the Korlym labeling. Defendants admit that Korlym is not

 subject to a REMS, and deny any characterization of its labeling, which speaks for

 itself, and respectfully refer the Court to that labeling for a full and complete

 statement of its contents. Defendants specifically deny that Korlym “is an identical

 product” to Mifeprex and its generic mifepristone product. Defendants further deny

 the allegation that “the Agency trusts patients to use [Korlym] accordingly” for

 lack of knowledge or information sufficient to form a belief as to its truth.




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       122. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

       123. Defendants admit that the cited statute and document contain the

 quoted text. Defendants deny any characterization of that statute and document,

 which speak for themselves, and respectfully refer the Court to that statute and

 document for a full and complete statement of their contents.

       124. This paragraph characterizes the cited documents. Defendants admit

 that the cited documents contain the quoted text. Defendants deny any

 characterization of those documents, which speak for themselves, and respectfully

 refer the Court to those documents for a full and complete statement of their

 contents.

       125. Defendants admit that the cited documents contain the quoted text,

 with the clarification that FDA 0398 contains the text quoted in the second

 sentence. Defendants deny any characterization of those documents, which speak

 for themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

       126. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,




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 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        127. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        128. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        129. As to the portion of the first sentence before the colon, Defendants

 admit that the cited statute contains the quoted text. Defendants deny any

 characterization of the cited statute, which speaks for itself, and respectfully refer

 the Court to the cited statute for a full and complete statement of its contents. The

 remainder of the first sentence contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations. The second sentence

 characterizes the cited document. Defendants deny any characterization of the cited

 document, which speaks for itself, and respectfully refer the Court to that

 document for a full and complete statement of its contents. As to the third sentence,

 Defendants admit that the cited document contains the quoted text. Defendants

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 deny any characterization of that document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. The fourth sentence contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        130. Defendants deny the allegations in the first sentence. As to the second

 sentence, Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        131. Deny.

        132. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth, as the allegations are vague, use undefined terminology,

 and refer to unspecified other drugs.

        133. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        134. Deny, except Defendants admit that FDA determined in December

 2021 that there did not appear to be a difference in adverse events between periods

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 when the in-person dispensing requirement was being enforced and periods when

 the in-person dispensing requirement was not being enforced.

       135. This paragraph characterizes the cited documents. Defendants deny

 any characterization of the cited documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

       136. The first sentence characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. As to the second and third sentences, Defendants admit that the cited

 documents contain the quoted text. Defendants deny any characterization of those

 documents, which speak for themselves, and respectfully refer the Court to those

 documents for a full and complete statement of their contents.

       137. The first sentence characterizes the cited document. Defendants deny

 any characterization of the cited document, which speaks for itself, and

 respectfully refer the Court to that document for a full and complete statement of

 its contents. Defendants admit the allegations in the second sentence.

       138. Deny.

       139. Deny.




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        140. Defendants admit that the Commissioner requested that the referenced

 ETASU be maintained. Defendants deny the remaining allegations in the first

 sentence. As to the second sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants deny the remaining allegations

 in the second sentence.

        141. Defendants admit that the Commissioner requested that the referenced

 ETASU be maintained. Defendants further admit that the cited documents contain

 the quoted text. Defendants deny any characterization of those documents, which

 speak for themselves, and respectfully refer the Court to those documents for a full

 and complete statement of their contents. Defendants deny any remaining

 allegations in this paragraph.

        142. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        143. This paragraph characterizes the cited documents. As to the portion of

 the paragraph up to footnote 107, Defendants admit that 2021 REMS 001578

 contains the following text: “removal of the in-person dispensing requirement from

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 the Mifepristone REMS Program (as discussed below in section 3.2.3) could

 significantly increase the number of providers to a larger group of practitioners.”

 As to the portion of the paragraph after footnote 107, Defendants admit that the

 cited document contains the quoted text. Defendants deny any characterization of

 the cited documents, which speak for themselves, and respectfully refer the Court

 to those documents for a full and complete statement of their contents.

       144. Deny.

       145. The first sentence characterizes the medication guides for Mifeprex

 and generic mifepristone. Defendants admit that the approved labeling for

 Mifeprex and generic mifepristone includes a medication guide. Defendants deny

 any characterization of the medication guides, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents. As to the second sentence, Defendants admit that the cited Joint

 Stipulation of Facts, ECF No. 85, contains the quoted text. Defendants deny any

 characterization of the Joint Stipulation of Facts that is inconsistent with the

 contents of that document, which were accurate as of the November 27, 2019 date

 of filing. Defendants deny the allegations in the last sentence.

       146. This paragraph characterizes the Mifepristone REMS Program.

 Defendants deny any characterization of the Mifepristone REMS Program, which




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 speaks for itself, and respectfully refer the Court to the Mifepristone REMS

 Program for a full and complete statement of its contents.

       147. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents. Defendants further deny that FDA’s rationale for maintaining

 ETASU A was “a pure tautology.”

       148. This paragraph characterizes the cited documents. Defendants admit

 that on January 3, 2023, FDA approved supplemental applications that modified

 the Mifepristone REMS Program. Defendants further admit that the cited

 documents contain the quoted text. Defendants deny any characterization of those

 documents, which speak for themselves, and respectfully refer the Court to those

 documents for a full and complete statement of their contents.

       149. Deny.

       150. Deny.

       151. Defendants deny the allegations in the first sentence for lack of

 knowledge or information sufficient to form a belief as to their truth. Defendants

 deny the allegations in the second sentence.

       152. Deny, except Defendants admit there are other drugs for which patient

 screening is the standard of care but that are not subject to ETASU.

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        153. Defendants deny the allegations in the first sentence. Defendants deny

 the allegations in the second sentence, except admit that a provider can assess the

 duration and location of a pregnancy by ordering an ultrasound.

        154. Defendants admit that FDA determined on December 16, 2021, that

 with certain modifications, the Mifepristone REMS Program, including the

 Prescriber Agreement ETASU, continues to be necessary to ensure that the

 benefits of the drug outweigh the risks. Defendants deny the allegations in the first

 sentence for lack of knowledge or information sufficient to form a belief as to their

 truth. As to the second sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents.

        155. Defendants deny the allegations in the first two sentences for lack of

 knowledge or information sufficient to form a belief as to their truth. Defendants

 deny the allegations in the third sentence.

        156. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        157. Defendants admit that, under the Mifepristone REMS Program,

 mifepristone may be dispensed by certified pharmacies and that, to become

 certified, pharmacies must complete a Pharmacy Agreement Form. The remaining

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 allegations characterize the Mifepristone REMS Program. Defendants deny any

 characterization of the Mifepristone REMS Program, which speaks for itself, and

 respectfully refer the Court to the Mifepristone REMS Program for a full and

 complete statement of its contents. Defendants further deny that the Pharmacy

 Certification ETASU imposes burdens beyond what is permitted by statute.

        158. As to the first sentence, Defendants admit that the cited document

 contains the quoted text. Defendants deny any characterization of that document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants specifically deny that “the

 Pharmacy Certification ETASU is burdensome.” Defendants deny the allegations

 in the second sentence.

        159. Defendants admit that the cited document contains the quoted text.

 Defendants deny any characterization of that document, which speaks for itself,

 and respectfully refer the Court to that document for a full and complete statement

 of its contents.

        160. Defendants deny the allegations in the first sentence. As to the second

 sentence, Defendants admit that by January 3, 2023, a limited number of

 pharmacies had been dispensing mifepristone without certification for a period of

 time. Defendants deny any remaining allegations in the second sentence.




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       161. As to the first sentence, Defendants admit that the cited statute

 contains the quoted text. Defendants deny any characterization of the cited statute,

 which speaks for itself, and respectfully refer the Court to the cited statute for a full

 and complete statement of its contents. Defendants deny the allegations in the

 second sentence for lack of knowledge or information sufficient to form a belief as

 to their truth, as the allegations are vague, use undefined terminology, and refer to

 unspecified other drugs.

       162. Admit.

       163. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth, as the allegations are vague, use undefined terminology,

 and refer to unspecified other drugs “that have higher safety risks than

 mifepristone.”

       164. The first and third sentences characterize the cited documents.

 Defendants admit that neither Viagra nor Tylenol has a REMS. Defendants deny

 any characterization of the cited documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents. Defendants deny the allegations in the second sentence for lack of

 knowledge or information sufficient to form a belief as to their truth.

       165. This paragraph characterizes the cited documents, the referenced letter

 from the Chelius Plaintiffs to FDA, and the mifepristone REMS review documents.

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 Defendants admit that the cited documents contain the quoted text. Defendants

 further admit that anticoagulants are available by prescription without a REMS and

 that Mifeprex is available by prescription with a REMS. Defendants deny any

 characterization of the cited documents, the referenced letter from the Chelius

 Plaintiffs to FDA, and the mifepristone REMS review documents, which speak for

 themselves, and respectfully refer the Court to those documents for a full and

 complete statement of their contents.

       166. This paragraph characterizes the cited document, the referenced letter

 from the Chelius Plaintiffs to FDA, and the 2021 and 2023 mifepristone REMS

 review documents. Defendants admit that the cited document contains the quoted

 text and admit that the 2021 and 2023 mifepristone REMS review documents did

 not address Jeuveau. Defendants deny any characterization of the cited document,

 the referenced letter from the Chelius Plaintiffs to FDA, and the 2021 and 2023

 mifepristone REMS review documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

       167. Deny.

       168. Deny.

       169. Deny.

       170. Deny.

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        171. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        172. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        173. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        174. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        175. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        176. Defendants deny the allegations in the first sentence for lack of

 knowledge or information sufficient to form a belief as to their truth. As to the

 allegations in the second sentence, Defendants admit that the agency redacted the

 names of some agency employees in administrative record documents. Defendants

 deny the remaining allegations in the second sentence for lack of knowledge or

 information sufficient to form a belief as to their truth. As to the third sentence,

 Defendants admit that the cited Joint Stipulation of Facts, ECF No. 85, contains the

 quoted text. Defendants deny any characterization of the cited Joint Stipulation of

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 Facts that is inconsistent with the contents of that document, which were accurate

 as of the November 27, 2019, date of filing.

          177. Defendants deny the allegations in the first sentence for lack of

 knowledge or information sufficient to form a belief as to their truth. The second

 sentence characterizes the cited statutes. Defendants deny any characterization of

 the cited statutes, which speak for themselves, and respectfully refer the Court to

 those statutes for a full and complete statement of their contents.

          178. Defendants admit that the Patient Agreement Form contains the

 quoted text. Defendants deny any characterization of the Patient Agreement Form,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants further deny that the Patient

 Agreement Form “undermines informed consent” or “contain[s] fossilized

 science.” Additionally, this paragraph characterizes the document cited in footnote

 123. Defendants deny any characterization of that document, which speaks for

 itself, and respectfully refer the Court to that document for a full and complete

 statement of its contents. Defendants deny the remaining allegations in paragraph

 178 for lack of knowledge or information sufficient to form a belief as to their

 truth.

          179. Defendants admit that the Patient Agreement Form contains the

 quoted text. Defendants deny any characterization of the Patient Agreement Form,

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 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants deny the remaining allegations

 in paragraph 179 for lack of knowledge or information sufficient to form a belief as

 to their truth.

        180. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        181. As to the first sentence, Defendants deny that the referenced ETASU

 “imposes significant costs and burdens” and deny the remaining allegations for

 lack of knowledge or information sufficient to form a belief as to their truth. The

 remainder of paragraph 181 characterizes the Mifepristone REMS Program.

 Defendants deny any characterization of the Mifepristone REMS Program, which

 speaks for itself, and respectfully refer the Court to the Mifepristone REMS

 Program for a full and complete statement of its contents.

        182. As to the first sentence, Defendants admit that the Mifepristone

 REMS Program contains the quoted text. Defendants deny any characterization of

 the Mifepristone REMS Program, which speaks for itself, and respectfully refer the

 Court to the Mifepristone REMS Program for a full and complete statement of its

 contents. Defendants deny the allegations in the second and third sentences for lack

 of knowledge or information sufficient to form a belief as to their truth.




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        183. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        184. Defendants deny that the Mifepristone REMS Program “prohibit[s] all

 but certified pharmacies to dispense mifepristone” and note that certified

 prescribers may dispense mifepristone. Defendants deny the remaining allegations

 in paragraph 184 for lack of knowledge or information sufficient to form a belief as

 to their truth.

        185. Deny.

        186. This paragraph characterizes the cited documents and the mifepristone

 REMS review documents. Defendants admit that the cited documents contain the

 quoted text. Defendants deny any characterization of the cited documents and the

 mifepristone REMS review documents, which speak for themselves, and

 respectfully refer the Court to those documents for a full and complete statement of

 their contents.

        187. As to the first sentence, Defendants deny that the Mifepristone REMS

 Program imposes burdens beyond what is permitted by statute. Defendants deny

 the remaining allegations in the first sentence for lack of knowledge or information

 sufficient to form a belief as to their truth. As to the second sentence, Defendants

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 admit that the cited document contains the quoted text. Defendants deny any

 characterization of that document, which speaks for itself, and respectfully refer

 the Court to that document for a full and complete statement of its contents.

        188. Defendants admit that the cited document contains the quoted text,

 with the clarification that 2021 REMS 001163–64 contains the text quoted in the

 last two sentences. Defendants deny any characterization of the cited document,

 which speaks for itself, and respectfully refer the Court to that document for a full

 and complete statement of its contents. Defendants further deny that the

 Mifepristone REMS Program imposes burdens beyond what is permitted by

 statute.

        189. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations in the first two sentences for lack of knowledge or information

 sufficient to form a belief as to their truth. Defendants deny the allegations in the

 third sentence.

        190. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.




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        191. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        192. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        193. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        194. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        195. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

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        196. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        197. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        198. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        199. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        200. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        201. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        202. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

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 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        203. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        204. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        205. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        206. Deny for lack of knowledge or information sufficient to form a belief

 as to the allegations’ truth.

        207. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        208. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

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 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        209. Defendants deny that the Mifepristone REMS Program imposes

 burdens beyond what is permitted by statute. Defendants deny the remaining

 allegations for lack of knowledge or information sufficient to form a belief as to

 their truth.

        210. Defendants incorporate by reference their responses to paragraphs 1–

 209.

        211. Deny.

        212. Defendants incorporate by reference their responses to paragraphs 1–

 209.

        213. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        214. Deny.

        215. Defendants incorporate by reference their responses to paragraphs 1–

 209.

        216. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

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        217. Deny.

        218. Defendants incorporate by reference their responses to paragraphs 1–

 209.

        219. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny the allegations.

        220. Deny.

        221. Deny.

        222. Deny.

        Defendants deny that Plaintiffs are entitled to any relief.

        Defendants deny all allegations in the Corrected Second Amended and

 Supplemental Complaint, except as specifically admitted in this Answer.

                                        DEFENSES

        1.     The Court lacks subject matter jurisdiction over some or all of

 Plaintiffs’ claims.

        2.     Some or all of Plaintiffs lack standing to bring some or all of

 Plaintiffs’ claims.

        3.     Some or all of Plaintiffs’ claims are barred by the statute of

 limitations, 28 U.S.C. § 2401(a).




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       4.       The actions challenged by Plaintiffs were lawful and reasonable,

 supported by the administrative record, and not arbitrary and capricious.

       WHEREFORE, having fully answered, Defendants respectfully request that

 the Court enter judgment in their favor, dismiss the Corrected Second Amended

 and Supplemental Complaint with prejudice, and award Defendants their costs,

 expenses, attorneys’ fees, and such additional relief as the Court may deem

 appropriate.



 Dated: August 16, 2024                         Respectfully submitted,

                                                /s/ Isaac C. Belfer
                                                NOAH T. KATZEN
                                                ISAAC C. BELFER
                                                Consumer Protection Branch
                                                U.S. Department of Justice

                                                Attorneys for Defendants Xavier
                                                Becerra, in his official capacity as
                                                Secretary, U.S. Department of Health
                                                and Human Services; U.S. Food and
                                                Drug Administration; and Robert M.
                                                Califf, in his official capacity as
                                                Commissioner of Food and Drugs




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                           CERTIFICATE OF SERVICE

       I hereby certify that, on August 16, 2024, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send notification

 of such filing to all counsel of record.



                                                 /s/ Isaac C. Belfer
                                                 ISAAC C. BELFER




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